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                                      UNITED STATES D ISTRICT C OURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                   FORT PIERCE DIVISION

 UNITED STATES OF AMERICA                                                    §     JUDGMENT IN A CRIMINAL CASE
                                                                             §
 V.                                                                          §
                                                                             §     Case Number: 2:22-CR-14035-JEM(l)
 DANIEL SCOTT CROW                                                           §     USM Number: 02828-510
                                                                             §
                                                                             §      Counsel for Defendant: Richard Dean Kibbey
                                                                             §      Counsel for United States: Christopher Hudock


THE DEFENDANT:
        pleaded guilty to Counts One and Two of the
 0      Indictment
 D      pleaded guilty to count(s) before a U.S. Magistrate
        Judge, which was accepted by the court.
 D      pleaded nolo contendere to count(s) which was
        accepted by the court
 0      was found guilty on count(s) after a plea of not guilty

The defendant is adjud icated guilty of these offenses:
 Title & Section/ Nature of Offense                                                                    Offense Ended         Count
 18 U.S.C. § 2422(8) / Enticement Of A Minor                                                           05/22/2020            I
 18 U.S.C. § 2251 (A), (E), and 2 / Production of Child Pornography                                    05/22/2020            2




The defendant is sentenced as provided in pages 2 through 8 of th is judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 0     The defendant has been found not guilty on count(s)
 0      Cou nt 3 is dismissed on the motion of the United States

         It is ordered that the defendant mu st notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines , restituti on, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution , the defendant must notify the court and United States Attorney of material changes in economic
circumstances.


                                                                      December 12, 2022
                                                                      Date of Imposition of Judgment




                                                                      s,, .,~¥ .~.____.!l1_,_
                                                                      JOSE E. MARTINEZ
                                                                                         __ef=_                                     _
                                                                      UNITED STATES DISTRICT JUDGE
                                                                      Name and Title of Judge


                                                                      Date
                                                                                 -=~~ e~ ~;>..n..
                                                                                               .~ ~
                                                                                                  ~-----
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DEFE DA T:                 DA !EL SCOTT CROW
CASE UM BER:               2:22-C R-1 4035-JEM( I)

                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the Un ited States Bureau of Prisons to be imprisoned for a total term of:

360 months as to Counts 1 and 2, term to run concurrent.

 1Z1   The court makes the following recommendations to the Bureau of Prisons:
        The defendant shall be assigned to a fac ili ty as close to the Southern District of Florida as possible commensurate with his
        background and the offense of which he stands convicted.



 IZI   The defendant is remand ed to the custody of the United States Marshal.
 0     The defendant shall su1Tender to the Un ited States Marshal for this district:


          0     at                                   D        a.m.    D     p.m .       on

          0     as notified by th e Un ited States Marshal.

 0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

          0     before 2 p.m. on
          0     as notified by the United States Marshal.
          0     as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:


         Defendant del ivered on _ _ _ _ _ _ _ _ _ _ _ to


at _ _ _ _ _ _ _ _ _ _ _ __, with a certified copy of this judgment.




                                                                                             UN IT ED STATES MA RSHAL

                                                                                                       By
                                                                                         DEPUTY UN IT ED ST ATES MARSHAL
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DEFENDANT:                  DANIEL SCOTT CROW
CASE NUMBER:                2:22-CR-14035-JEM( I)

                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Life term as to Counts I and 2, to run
conc urrent.



                                             MANDATORY CONDITIONS

 I.    You must not commit another federal, state or local crime.
 2.    You must not unl awfully possess a contro lled substance.
 3.    You must refrain from any unl awfu l use of a controlled substance. You must submit to one drug test within 15 days ofrelease
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             □    The above drug testing condition is suspended, based on the court's determination th at you pose a low risk of future
                  substance abuse. (check if applicable)
 4.    D     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
             of restitution . (check if applicable)
 5.    1ZJ   You must cooperate in the collection of DNA as directed by the probation officer. (check    if applicable)
 6.    D     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
             you res ide, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.    D     You must participate in an approved program for domestic vio lence. (check if applicable)

            You must comply with the standard conditions that have been adopted by this court as well as with any add itional
 cond iti ons on the attached page.
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D EFENDA T :                DANI EL SCOTT CROW
CASE NUMBER:                2:22-CR- 1403 5-JEM(I)

                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision . These conditions are
imposed because they establish the basic expectations fo r your behavior while on supervision and identi fy the minimum tools needed
by probation officers to keep inform ed, report to the court about, and bring about improvements in your conduct and condition.

 I. You must report to the probation office in the federal judicial district where you are authori zed to reside within 72 hours of your
release from imprisonment, unl ess the probation officer in structs you to report to a di ffere nt probation office or within a different time
fra me.
2. After ini tia lly reporting to the probation office, you wi ll receive in structions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed .
3. You must not knowingly leave the federal judicial district where you are authorized to res ide without first getting permiss ion from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You mu st li ve at a place approved by the probation officer. If you pl an to change where you live or anything about your living
arrangements (such as th e people you live with), you must notify the probation officer at least 10 days before the change. If notifyi ng
the probation officer in advance is not possible due to un anticipated circumstances, you must noti fy the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must all ow the probation officer to vis it you at any time at your hom e or elsew here, and you must permit th e probation officer
to take any items pro hibited by the con ditions of your supervis ion th at he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of em ployment, unless the probation offi cer excuses you from
doing so. If you do not have full-time emp loyment you mu st try to find full-time employment, unl ess the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsib ilities), you must notify the probation officer at least IO days before the change. If noti fy ing the probation officer at least 10
days in advance is not possible due to un anticipated circum stances, you mu st noti fy th e probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not commun icate or interact with someone you know is engaged in criminal activity . If you know someone has been
convicted ofa fe lony, you must not knowingly communicate or interact with that person without first getti ng the permission of the
probation officer.
9. If you are a1Tested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 I 0. You must not own, possess, or have access to a firearm , am munition, destructive device, or dangerous weapon (i .e., anything that
was designed, or was modified for, the specific purpose of caus ing bod ily injury or death to another person such as nun chakus or
tasers ).
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getti ng th e permiss ion of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to noti fy the person about the risk and you must comp ly with th at instruction . The probation officer may contact the
person and confirm th at you have notifi ed the persori about the risk.
13. You must fo ll ow the in structions of the probation officer related to the conditions of supervis ion .

U.S. Probation Office Use Only

A U.S. probation officer has in structed me on th e condition s spec ifi ed by the court and has provided me with a written copy of this
judgment containing these cond iti ons. I understand additional information regarding these conditions is ava ilable at
www. tl sp.uscourts.gov.

 Defendant 's Signature                                                                              Date
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DEFENDANT:                 DANIEL SCOTT CROW
CASE NUMBER:               2:22-CR-14035-JEM(l)

                                 SPECIAL CONDITIONS OF SUPERVISION

Adam Walsh Act Search Condition: The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced searches of the defendant's person , property, house, residence, vehicles, papers,
computer(s), other electronic communication or data storage devices or media, include retrieval and copying of
all data from the computer(s) and any internal or external peripherals and effects at any time, with or without
warrant by any law enforcement or probation officer with reasonable suspicion concerning unlawful conduct or
a violation of a condition of probation or supervised release. The search may include the retrieval and copying
of all data from the computer(s) and any internal or external peripherals to ensure compliance with other
supervision conditions and/or removal of such equipment for the purpose of conducting a more thorough
inspection; and to have installed on the defendant's computer(s), at the defendant's expense, any hardware or
software systems to monitor the defendant's computer use.

Computer Modem Restriction: The defendant shall not possess or use a computer that contains an internal,
external or wireless modem without the prior approval of the Court.

Computer Possession Restriction: The defendant shall not possess or use any computer; except that the
defendant may, with the prior approval of the Court, use a computer in connection with authorized employment.

Data Encryption Restriction: The defendant shall not possess or use any data encryption technique or
program .

Employer Computer Restriction Disclosure: The defendant shall permit third party disclosure to any
employer or potential employer, concerning any computer-related restrictions that are imposed upon the
defendant.

No Contact with Minors: The defendant shall have no personal, mail, telephone, or computer contact with
chi ldren/minors under the age of 18 or with the victim.

No Involvement in Youth Organizations: The defendant shall not be involved in any children's or youth
organi zation.

Permissible Computer Examination: The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced examinations of the defendant's computer(s) equipment which may include retrieval and
copy ing of all data from the computer(s) and any internal or external peripherals to ensure compliance with this
condition and/or removal of such equipment for the purpose of conducting a more thorough inspection; and to
have installed on the defendant's computer(s), at the defendant's expense, any hardware or software systems to
monitor the defendant's computer use .

Restricted from Possession of Sexual Materials: The defendant shall not buy, sell , exchange, possess, trade,
or produce visual depictions of minors or adults engaged in sexually explicit conduct. The defendant shall not
correspond or communicate in person, by mail , telephone, or computer, with individuals or companies offering
to buy, sell , trade, exchange, or produce visual depictions of minors or adults engaged in sexually explicit
conduct.
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DEFENDANT:                 DANIEL SCOTT CROW
CASE NUMBER:               2:22-CR- 14035-JEM( I)

Sex Offender Registration: The defe ndant shall comply with the requirements of the Sex Offender
Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of
Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or was
convicted of a qualifying offense.

Sex Offender Treatment: The defendant shall participate in a sex offender treatment program to include
psychological testing and polygraph examination. Participation may include inpatient/outpatient treatment, if
deemed necessary by the treatment provider. The defendant will contribute to the costs of services rendered (co-
payment) based on ability to pay or availability of third party payment.

Unpaid Restitution, Fines, or Special Assessments: If the defendant has any unpaid amount ofrestitution,
fines, or special assessments , the defendant shall notify the probation officer of any material change in the
defendant's economic circumstances that might affect the defendant's ability to pay .
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DEFEN DANT:                   DANI EL SCOTT CROW
CASE NUMBER:                  2:22-C R-1 4035-JEM(I )

                                          CRIMINAL MONETARY PENALTIES
          The defendant must a the total criminal moneta
                              Assessment                                              Fine        AV AA Assessment*             JVT A Assessment**
 TOTALS '                         $200 .00                                            $.00                                                  $ 10,000.00

 1ZJ    The determination of restitution is deferred until 3/ 10/2023 An Amended Judgm ent in a Criminal Case (A 0245C) will be
        entered after such determination .
 0      The defendant must make restitution (inc lud ing community restitution) to the following payees in the amount li sted below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
          § 3664(i), all non fed eral victims must be paid before the Un ited States is paid.




 D      Restitution amount ordered pursuant to plea agreement $
 D      The defendant must pay interest on restitution and a fine of more than $2,5 00, unl ess th e restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(t). All of the payment options on the schedule of
        payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).
 D      The court determined that the defen dant does not have the abil ity to pay interest and it is ordered that:
        D the interest requirement is waived for the          □     fin e                         □      restitution
        D     the interest requirement for the                     □     fin e                            □        restitution is modified as follows:

Restitution with Imprisonment - It is further ordered that the defendant shall pay rest itution in th e amount of $.00. Durin g the period of
incarceration, payment shall be made as fol lows: ( I) if the defendant earns wages in a Federal Prison Industries (UN ICO R) job, then
the defendant must pay 50% of wages earn ed toward the financia l obligations imposed by thi s Judgment in a Criminal Case; (2) if the
defendant does not work in a UN ICORjob, then the defendant mu st pay a minimum of$25.00 per quarter toward the financial
ob ligati ons imposed in this order. Upon release of incarceration, the defendant shall pay restitution at the rate of I 0% of monthly gross
earnings, until such time as the co urt may alter that payment schedul e in the interests of justice. The U.S. Bureau of Prisons, U.S.
Probation Offi ce and U.S. Attorney ' s Office shall monitor the paym ent of restitution and report to th e court any material change in the
defendant' s ability to pay. These payments do not preclude the government from using other assets or income of the defen dant to
satisfy the restitution obligations.

* Amy, Vicky, and Andy Child Pornography Victim Ass istance Act of 20 18, 18 U.S.C. §2259.
** Justice for Victims of Trafficking Act of 20 15, 18 U.S.C. §30 14.
*** Findings for the total amount of losses are required under Chapters I09A, l l 0, l l 0A, and l 13A of Title   18 for offenses committed on or after
September 13, 1994, but before April 23 , 1996.
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DEFENDANT:                      DANIEL SCOTT CROW
CASE NUMB ER:                   2:22-CR-1 4035-JEM( I)

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant' s ability to pay, payment of the total cri minal mon etary penalti es is due as fo llows:

 A      1ZJ    Lump sum payment of $200.00 due immedi ate ly, balance due

It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and 2, which shall
be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. Payment is to be addressed to:

          U.S. CLERK'S OFFICE
          ATTN: FINA CIAL SECTION
          400 NORTH MIAMI A VENUE, ROOM 8N09
          MIAMI, FLORIDA 33128-7716

Unless the court has express ly ordered otherwise, if thi s judgment im poses imprisonment, payment of crim inal monetary penalties is
due during imprisonm ent. All crimin al monetary penalti es, except those payments made through th e Federal Bureau of Prisons'
Inm ate Financial Responsib ili ty Program, are made to th e clerk of th e court.

The defendant shall receive credit for all payments prev iously made toward any criminal monetary penalties imposed.

 D      Joi nt and Several
        See above fo r Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

 D      Th e defendant shall fo rfe it the defend ant's interest in the foll ow in g property to th e United States:
        FORFEITURE of the defendant's right, title and interest in certain property is hereby ordered consistent with the plea
        agreem ent. The United States shall s ubmit a proposed Ord er of Forfeiture within three days of this proceeding.

Pay ments sha ll be app lied in the fo ll owing order: ( I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment, (5)
fin e principal, (6) fin e interest, (7) community restitution, (8) JVT A assessment (9) penalties, and ( I0) costs, including cost of prosecution
and court costs.
